             Case 4:22-cr-00081UNITED
            Sealed              Document 54 Filed
                                      STATES      on 02/10/22
                                             DISTRICT   COURT in TXSD                 Page 1 of 1
Public and unofficial staff access   SOUTHERN DISTRICT OF TEXAS                             United States District Court
                                                                                              Southern District of Texas
     to this instrument are              HOUSTON DIVISION
   prohibited by court order                                                                     ENTERED
                                                                                              February 16, 2022
       UNITED STATES OF AMERICA                         §                                     Nathan Ochsner, Clerk
                                                        §
               vs.                                      §      Criminal No.         4:22cr81
                                                        §
                                                        §
                                                        §
        RAUL MANUEL DELACRUZ (51)                       §



                            ORDER FOR ISSUANCE OF BENCH WARRANT



              A Criminal Indictment has been returned against the defendant listed below.

              It is ORDERED that a warrant be issued for the arrest of said defendant. Upon arrest and

      appearance, a judicial determination shall be made as to detention or release on conditions. The

      United States Government recommends to the Court the following:


      RAUL MANUEL DELACRUZ (51)


                                                                DETENTION
                                                                RELEASE ON CONDITION
                                                                APPEARANCE BOND IN THE
                                                                 AMOUNT OF: $



      SIGNED at Houston, Texas, on February 10, 2022.




                                                      UNITED STATES MAGISTRATE JUDGE
